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11
                               IN THE UNITED STATES DISTRICT COURT
12                       NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
13 CALIFORNIA COALITION FOR WOMEN
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
14 G.M.; A.S.; and L.T., individuals on behalf of                      CASE NO. 4:23-CV-04155-YGR
   themselves and all others similarly situated,
15
                      Plaintiffs
16               v.                                                    UNITED STATES’ RESPONSE TO FIRST
                                                                       ORDER REGARDING SPECIAL MASTERS
17 UNITED STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
18 BUREAU OF PRISONS DIRECTOR
   COLETTE PETERS, in her official capacity;
19 FCI DUBLIN WARDEN THAHESHA JUSINO,
   in her official capacity; OFFICER
20 BELLHOUSE, in his individual capacity;
   OFFICER GACAD, in his individual capacity;
21 OFFICER JONES, in his individual capacity;
   LIEUTENANT JONES, in her individual
22 capacity; OFFICER LEWIS, in his individual
   capacity; OFFICER NUNLEY, in his individual
23 capacity, OFFICER POOL, in his individual
   capacity, LIEUTENANT PUTNAM, in his
24 individual capacity; OFFICER SERRANO, in
   his individual capacity; OFFICER SHIRLEY, in
25 his individual capacity; OFFICER SMITH, in his
   individual capacity; and OFFICER VASQUEZ,
26 in her individual capacity,

27                            Defendants.
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     UNITED S TATES’ R ESPONSE TO F IRST ORDER R E: S PECIAL MASTERS

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 1             The United States respectfully responds to the Court’s First Order Regarding Selection of

 2 Special Master (doc. 232).

 3             1. The United States strikes the following individuals from Plaintiffs’ list of proposed special

 4                  masters:

 5                       a. Andrea Armstrong

 6                       b. Bernadette Brown

 7                       c. Hon. Beverly Martin

 8             2. The United States will provide Plaintiffs’ counsel with a copy of the March 2022 Dublin

 9                  Task Force Report for the remaining applicants to review pursuant to the Court’s First Order

10                  (doc. 232), but maintain its position that this document should not have been considered in

11                  deciding the preliminary injunction motion (see doc. 135, “[p]ursuant to the Court’s

12                  instruction on the final day of the evidentiary hearing held in this matter, the United States

13                  submits the following notice of in camera exhibits exchanged with Plaintiffs’ counsel on

14                  January 23, 2024. Any exhibit not listed here was not relied upon by the United States, and

15                  therefore the Court should not consider the document in deciding the instant motion.”). This

16                  document, as well as the Moss Group report, are being produced under the protective order

17                  as Attorney Eyes Only, as they remain not for public or party dissemination.

18             3. The United States requests that each of its two final candidates be permitted to track their

19                  time spent preparing the documents requested in paragraph 3 of the Court’s First Order, and

20                  be compensated as provided by 18 U.S.C. § 3626(f)(4).

21             6. The United States designates Madison Mattioli as the attorney designated to ask limited

22                  follow up questions as outlined in paragraph 6 of the Court’s First Order. The United States,

23                  however, respectfully requests that BOP attorney Rob France be permitted to attend the

24                  interviews.

25

26             Dated this 27th day of March, 2024.

27                                                                JESSE A. LASLOVICH
                                                                  United States Attorney
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     UNITED S TATES’ R ESPONSE TO F IRST ORDER R E: S PECIAL MASTERS

30   4:23-cv-04155-YGR                                                  2
                 Case 4:23-cv-04155-YGR Document 234 Filed 03/27/24 Page 3 of 3



 1                                                                /s/ Madison L. Mattioli
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     UNITED S TATES’ R ESPONSE TO F IRST ORDER R E: S PECIAL MASTERS

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